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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                                SHREVEPORT DIVISION


  UNITED STATES OF AMERICA                          CRIMINAL NO. 04-50134-02
                                                    CIVIL NO. 08-1866
  VERSUS
                                                    JUDGE S. MAURICE HICKS, JR.

  FELICIA SMITH                                     MAGISTRATE JUDGE HORNSBY


                                  MEMORANDUM RULING

         Before this Court is a Motion Under 28 U.S.C. § 2255 to Vacate, Set Aside, or

  Correct Sentence by a Person in Federal Custody (Record Document 243) filed on behalf

  of Petitioner, Felicia Smith. Smith seeks an order from the Court vacating her sentence

  and setting the matter for a new sentencing hearing on the following grounds: (1) ineffective

  assistance of trial counsel for failing to file suppression motion and failing to request a

  sentence below the sentencing guidelines and (2) her sentence is in violation of her right

  to due process and trial by jury as her sentence was based upon allegations that she did

  not admit and that were not proved to a jury beyond reasonable doubt. For the reasons

  below, Smith’s motion is DENIED.

                                 FACTUAL BACKGROUND

         On June 23, 2005, a federal grand jury returned a third superseding indictment

  against Felicia Smith (“Smith”), Eric German (“German”) and Richard Randale Jackson

  (“Jackson”). [Record Document 78]. The Petitioner, Smith, was named in Count One

  (conspiracy to distribute cocaine in violation of 21 U.S.C. §§ 841(a)(1) and 846), Count Two

  (conspiracy to distribute crack cocaine in violation of 21 U.S.C. §§ 841(a)(1) and 846),

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  Count Four (possession with intent to distribute cocaine in violation of 21 U.S.C. §

  841(a)(1)), and Count Five (possession with intent to distribute crack cocaine in violation

  of 21 U.S.C. § 841(a)(1)). Id.

          On August 17, 2005, after an eight-day jury trial, Smith was found guilty as charged

  on Count One, Count Two, and Count Four and not guilty as to Count Five. [Record

  Document 144]. Smith was then sentenced on December 15, 2005, to a term of 292

  months for Counts One, Two and Four with the sentences to run concurrently. [Record

  Document 170].      Petitioner was also sentenced to be on supervised release for five (5)

  years following imprisonment per count, to run concurrently. Id. The United States Court

  of Appeals for the Fifth Circuit affirmed the defendant’s conviction on May 14, 2007.

  [Record Document 214]; See United States v. German, 486 F.3d 849 (5th Cir. 2007).

          On December 1, 2008, Smith filed a Motion Under 28 U.S.C. § 2255 to Vacate, Set

  Aside, or Correct Sentence (Record Document 243). The Petitioner asserts three grounds

  of relief:

                a.     Ms. Smith’s prior counsel was prejudicially ineffective
                       for failing to move to suppress the evidence found in the
                       White Caprice;
                b.     Ms. Smith’s prior counsel was prejudicially ineffective
                       for failing to request a sentence below the U.S.
                       Sentencing Guidelines Range based upon the unjust
                       disparity between crack and powder cocaine; the
                       District Court sentenced Ms. Smith without
                       understanding its authority to impose a sentence blow
                       the Guidelines Range on that ground; and
                c.     Ms. Smith was sentenced in violation of her right to due
                       process and trial by jury as her sentence was based
                       upon allegations that she did not admit and that were
                       not proved to a jury beyond reasonable doubt.

  [Record Document 243-1].


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                                     LAW AND ANALYSIS

         After conviction and exhaustion of a defendant’s right to appeal, the Court is “entitled

  to presume that the defendant stands fairly and finally convicted.” United States v. Shaid,

  937 F.2d 228, 231-32 (5th Cir. 1991) (en banc), (quoting United States v. Frady, 456 U.S.

  152, 164; 102 S.Ct. 1584, 1592; 71 L.Ed.2d 816 (1982).              “Our trial and appellate

  procedures are not so unreliable that we may not afford their completed operation any

  binding effect beyond the next in a series of endless post conviction collateral attacks. To

  the contrary, a final judgment commands respect.” Frady, 456 U.S. at 164-65, 102 S.Ct.

  at 1593. Consequently, issues that can be presented in a motion filed under 28. U.S.C. §

  2255 are limited.    A defendant can challenge a final conviction only on issues of

  constitutional or jurisdictional magnitude. Shaid, 937 F.2d at 232. As the Fifth Circuit has

  stated:

                Relief under 28 U.S.C.A. § 2255 is reserved for transgressions
                of constitutional rights and for a narrow range of injuries that
                could not have been raised on direct appeal and would, if
                condoned, result in a complete miscarriage of justice.
                Nonconstitutional claims that could have been raised on direct
                appeal, but were not, may not be asserted in a collateral
                proceeding.

  United States v. Vaughn, 955 F.2d 367, 368 (5th Cir. 1992) (citations omitted).

         Even if a defendant has issues that are constitutional or jurisdictional in nature, he

  may be procedurally barred from raising them. In order to raise an issue for the first time

  on collateral review, a defendant must show both “cause” for his procedural default and

  “actual prejudice” resulting from the error. Frady, 456 at 168; United States v. Segler, 37

  F.3d 1131, 1133 (5th Cir. 1994) (citing Shaid, 937 F.2d at 232). To establish “cause,”

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  defendant must show some external impediment prevented him from raising the claim on

  direct appeal. See United States v. Flores, 981 F.2d 231, 235 (5th Cir. 1993). In order to

  meet the “actual prejudice” test, he must demonstrate not just the possibility of prejudice,

  “but an actual and substantial disadvantage, infecting his entire trial with error of

  constitutional dimension.” Shaid, 937 F.2d at 233. A narrow exception to the cause and

  actual prejudice requirement exist in extraordinary cases “in which a constitutional violation

  has probably resulted in the conviction of one who is actually innocent.” Id. at 232. The

  Supreme Court has emphasized that this exception is limited to only those cases involving

  “manifest miscarriages of injustice” that would result in the continued incarceration of an

  innocent person. Id., citing Smith v. Murray, 477 U.S. 527, 537, 106 S.Ct. 2661 2667, 91

  L.Ed. 2d 434 (1986). The Supreme Court in Kuhlmann v. Wilson requires:

                federal courts to entertain successive petitions when a
                petitioner supplements a constitutional claim with a “colorable
                showing of factual innocence.” The miscarriage of justice
                exception to cause serves as “an additional safeguard against
                compelling an innocent man to suffer an unconstitutional loss
                of liberty,” Stone v. Powell, 428 U.S., at 492-493, n. 31, 96
                S.Ct., at 3051, n. 31, guaranteeing that the ends of justice will
                be served in full.

  Kuhlmann v. Wilson, 477 U.S. 436, 454, 106 S.Ct. 2616, 2627 (1986).

         1.     Ineffective Assistance of Counsel.

         The general rule prohibiting a defendant from raising claims on collateral review

  absent “cause” and “actual prejudice” does not apply to claims of ineffective assistance of

  counsel. Massaro v. United States, 538 U.S. 500, 504, 123 S.Ct. 1690, 1693, 155 L.Ed. 2d

  714 (2003). This “procedural-default rule is neither a statutory nor constitutional

  requirement, but it is a doctrine adhered to by the courts to conserve judicial resources and


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  to respect the law’s important interest in the finality of judgments.” Id. at 503. Requiring a

  criminal defendant to bring claims of ineffective assistance of counsel on a direct appeal

  does not promote these objectives. Id. A claim of ineffective assistance of counsel cannot

  be properly resolved on appeal because there has been no opportunity to develop the

  record on the merits of these allegations. United States v. Alanis, 88 Fed. Appx.15, 19 (5th

  Cir. 2004). Thus, a criminal defendant is permitted to bring ineffective assistance of counsel

  claims in a collateral proceeding under § 2255, regardless of whether such claims could

  have been raised on direct appeal. Id.

         To prevail on claims of ineffective assistance of counsel, Smith must prove (1) that

  his counsel’s actions fell below an objective standard of reasonableness and (2) that his

  counsel’s ineffective assistance was prejudicial. See Strickland v. Washington, 466 U.S.

  668, 104 S.Ct. 2052, 80 L.Ed.2d 674 (1984); Bryant v. Scott, 28 F.2d 1411, 1414-15 (5th

  Cir. 1994). Under the first prong of the Strickland analysis, Smith must show that his

  counsel “made errors so serious that counsel was not functioning as the ‘counsel’

  guaranteed the defendant by the Sixth Amendment.” Strickland, 466 U.S. at 687. The court

  is to presume that the attorney’s actions are encompassed within the wide range of

  reasonable competence and fall under the ambit of trial strategy. The defendant may

  overcome this presumption only by showing that under the “totality of the circumstances,”

  the attorney’s performance was “outside the wide range of professionally competent

  assistance.” Id., 466 U.S. at 690, 104 S.Ct. at 2066.

         Under the second prong of the Strickland test, Smith must show “that there is a

  reasonable probability that, but for counsel’s specified errors, the result of the proceeding

  would have been different.” Murray v. Maggio, 736 F.2d 279, 282 (5th Cir. 1984). “A

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  reasonable probability is a probability to undermine confidence in the outcome.” Strickland,

  466 U.S. at 690, 104 S.Ct. at 2066. Smith must demonstrate that the attorney’s actions

  “were so serious as to render the proceeding unreliable and fundamentally unfair.” United

  States v. Saenz-Forero, 27 F.3d 1016 1021 (5th Cir. 1994) citing Lockhart v. Fretwell, 506

  U.S. 364, 372, 113 S.Ct. 838, 844, 122 L.Ed.2d 180 (1993). If Smith fails to establish either

  prong of the Strickland test, her claim of ineffective assistance of counsel must be denied.

  See Tucker v. Johnson, 115 F.3d 276, 280 (5th Cir. 1997); Bryant v. Scott, 28 F.3d 1411,

  1415 (5th Cir. 1994); Williams v. Collins, 16 F.3d 626, 631 (5th Cir. 1994).

                a.     Failing to Move to Suppress the Evidence Found in the White
                       Caprice

         Petitioner argues that her attorney was ineffective for failing to file a motion to

  suppress the evidence found in a white Caprice automobile driven by German in which she

  was Petitioner was a passenger. Specifically, defendant argues “[t]he record now combined

  with the affidavits of Mr. German and Ms. Smith establish that the officers searched the

  Caprice without obtaining consent and without having probable cause to search the

  [C]aprice.” [Record Document 243-1 at 8].        Smith supplements the record with two

  affidavits–one from herself and another from her co-conspirator German–that declare

  neither of them gave consent for the search of the vehicle. See Record Document 247 and

  Record Document 243-1 at 16.

         The Court has reviewed the entire record and trial transcripts. The Government did

  not call the officer who stopped the car driven by German and obtained the consent of

  either German or Smith to search the vehicle. Nor has the government attached to their

  answer to this motion an affidavit from that officer attesting to whether or not he actually


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  received consent. The only mention of consent in the record comes from the testimony of

  Sergeant Shane Culver of the Bossier City Police Department who testified that he

  understood “that they [the police officers on the scene of the traffic stop] had permission

  to search.” [Trial Tr., Vol. III, p. 189].

         There is ample reason for the consent to search issue appearing in the record only

  in passing. At the end of the second day of trial, the Court held a conference with all of the

  parties (including the Defendants) out of the presence of the jury. The Court inquired about

  Phyllis Mann’s (German’s retained counsel) and Daryl Gold’s (Smith’s retained counsel)

  line of questioning about the stop. The Court questioned counsel if they planned on

  challenging the legality of the stop. Ms. Mann, German’s trial counsel, opined on this “stop”

  stating “I don’t believe that I have a legal basis to challenge the stop, because I think they

  did wait for them to commit a traffic violation and then, following the traffic violation, asked

  for a consent to search, and everything ensued from there. And had I thought differently,

  I would have filed a motion to suppress.” [Trial Tr., Vol. IV, p. 449]. Daryl Gold, Smith’s

  attorney, made no such similar statement. Smith, who was present for this exchange, did

  not object.1 Nor did she object after the verdict was rendered. Instead, the first argument

  that no consent was given was raised some two and a half years after the original verdict.


         1
           “Statements made by an attorney concerning a matter within his employment may
  be admissible against the party retaining the attorney.” Tucker v. Housing Authority of
  Birmingham Dist., 229 Fed. Appx. 820, 826 (11th Cir. 2007) (quoting Purgess v. Sharrock,
  33 F.3d 134, 144 (2d Cir. 1994)). From this Court’s reading of the Federal Rules of
  Evidence, particularly Rule 801(d)(2) addressing admissions of party-opponent, this Court
  is inclined to view Ms. Mann’s assertion made on the record with her client, Eric German,
  present and Mr. Gold’s concurrence made on the record with his client, Felicia Smith,
  present as admissions of a party-opponent and rely on it as such. The trial record
  accurately reflects the total absence of any evidence indicating facts contrary to the on the
  record statements that the vehicle search was not an issue.

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  At the time of trial, the Court agreed with Ms. Mann’s analysis of the facts and the law.

  Nothing has changed the Court’s opinion. Supporting this Court’s determination on the

  issue of consent, the Fifth Circuit, reviewing this case on direct appeal, found that the street

  level police officer who stopped German “got consent to search the car.” United States v.

  German, 486 F.3d 849, 851 (5th Cir. 2007). For all intents and purposes, this is a dead

  issue.

           Consent was given by German to search the white Caprice driven by German.

  However, German and Smith’s affidavits create a meager “after-the-fact” issue for this

  Court to resolve. Consent to search the vehicle was obtained and the legal search bore

  fruit in the form of illegal drugs. So, regardless of whether or not consent was given, the

  Court nonetheless arrives at the same conclusion–the police officers’ search of the white

  Caprice was completely lawful under the collective knowledge doctrine.

           Solely for the purpose of this motion, this Court will assume that consent was not

  given to search the white Caprice automobile driven by German. According to Smith’s

  Affidavit, “I did not hear Eric give permission to search the car. I told my lawyer about that,

  and asked him to file a suppression motion but he did not do it for me.” [Record Document

  243-1 at 16]. This Court readily admits that these two affidavits from co-conspirator and

  live-in companion German and Smith are blatantly self-serving, and the second affidavit

  from German has been prepared for the sole purpose of addressing shortcomings in

  German’s original affidavit raised by the Government in its answer. These affidavits are

  suspect. Nonetheless, they are competent evidence for this motion and comply with all of

  the technical formalities. Thus they create an “after-the-fact” issue for the Court to

  consider.

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           Upon review of the jurisprudence, this specific “after-the-fact” issue is not

  determinative, and this Court can dispose of this issue regardless of whether or not consent

  was given for the search. In fact, the officers could have legally searched the car without

  consent.

           Under the automobile exception to the warrant requirement, a lesser expectation of

  privacy attaches to a vehicle when it is being used on the highways. California v. Carney,

  471 U.S. 386, 392, 105 S.Ct. 2066, 85 L.Ed.2d 406 (1985). Therefore, officers may conduct

  a warrantless search of a vehicle if they have probable cause to believe that the vehicle

  contains contraband or evidence of a crime. Mack v. City of Abilene, 461 F.3d 547, 552

  (5th Cir. 2006). Whether probable cause exists requires a practical, common-sense

  determination of whether the circumstances, including information obtained from an

  informant, establish that there was a fair probability that contraband or evidence of a crime

  will be found in a particular place. United States v. Steele, 2009 WL 4039444 (5th Cir.

  2009).

           The Government does not argue, but the Court finds that the search of the white

  Caprice was justified based on Sergeant Culver’s probable cause to believe that German

  and Petitioner were transporting drugs and that the white Caprice would contain evidence

  of that activity. The street level police officers who initially stopped the white Caprice did

  not have probable cause to believe that German or Petitioner were involved in illegal drug

  distribution activity. That officer knew none of the background details concerning German

  and his operation and knew only that narcotics agents wanted him to stop German's car

  (the white Caprice) and develop probable cause or obtain consent for a search. This Court



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 finds that probable cause existed for the street level police officer's search under the

 collective knowledge doctrine.

        The Fifth Circuit has applied the collective knowledge doctrine in two distinct types

 of cases: (1) those where the arresting officer has no personal knowledge of any of the

 facts establishing probable cause, but simply carries out directions to arrest given by

 another officer who does have probable cause, e.g., United States v. Impson, 482 F.2d 197

 (5th Cir. 1973); United States v. Allison, 616 F.2d 779 (5th Cir. 1980); and (2) those where

 the arresting officer has personal knowledge of facts which standing alone do not establish

 probable cause but, when added to information known by other officers involved in the

 investigation, tips the balance in favor of the arrest, e.g., United States v. Nieto, 510 F.2d

 1118, 1120 (5th Cir. 1975); United States v. Agostino, 608 F.2d 1035, 1037 (5th Cir. 1979).

        In the former cases, the officer who issues the directive must himself have probable

 cause to arrest. Weeks v. Estelle, 509 F.2d 760, 765 (5th Cir. 1975), cert. denied, 423 U.S.

 872, 96 S.Ct. 139, 46 L.Ed.2d 103 (1975); United States v. Simpson, 484 F.2d 467, 468

 (5th Cir. 1973). In the latter cases, the “laminated total” of the information known by officers

 who are in communication with one another must amount to probable cause to arrest.

 United States v. Edwards, 577 F.2d 883, 895 (5th Cir. 1975) (en banc); Agostino, 608 F.2d

 at 1037; United States v. Webster, 750 F.2d 307, 323 (5th Cir. 1984). Thus, the arresting

 officer need not have personal knowledge, if being directed by another who does. See, e.g.,

 United States v. Ibarra, 493 F.3d 526, 530 (5th Cir. 2007) (probable cause existed under

 collective knowledge doctrine where arresting officer did not know all of the facts; arresting

 officer was told to be on the look-out for a certain vehicle and to make a traffic stop if the

 driver violated any traffic laws). The collective knowledge doctrine is not limited to probable

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 cause for arrests; it has also been applied in the context of reasonable suspicion for a

 traffic stop. See, e.g., United States v. Carmenate, 2009 WL 2998568 (5th Cir. 2009)

 (collective knowledge supported reasonable suspicion for traffic stop); United States v.

 Cortez, 2008 WL 5068619 (5th Cir. 2008)(collective knowledge provided reasonable

 suspicion for traffic stop and justified continued detention while the officers waited for

 canine to arrive).

        According to the appellate decision on direct appeal by Smith to the United States

 Court of Appeals for the Fifth Circuit,

                        By the evidence, defendant Eric German regularly
               bought cocaine by the kilo at the Downtown Collision Shop on
               Oak Cliff Street in Dallas, drove it home to Louisiana, turned
               some into crack, and sold both throughout North Louisiana. He
               lived with his girlfriend, Defendant Felicia Smith, who often
               helped out, buying baking power, and accompanying him on
               pickups and deliveries. State's witness Kelvin Gay was Eric
               German's right-hand man. Before Kelvin Gay was convicted in
               2001 on drug charges, he distributed large quantities of crack
               and cocaine for Eric German. Eric German paid for Gay's
               defense in 2001, and regularly sent him money while he was
               in prison. German also helped Gay earn a downward departure
               by fabricating stories about drug dealers that they knew, and
               even setting up a dealer on Gay's behalf. For his substantial
               assistance, Gay's sentence was reduced to thirteen years, six
               months.
               ...
                        In August of 2004, police officers tailed German and
               Smith while on their drug runs--a meeting with a tow truck, a
               visit to an apartment complex, and an exchange of packages
               at a car wash. Eventually, German and Smith violated the
               traffic code. Officers pulled them over, got consent to search
               the car, and found one kilo of cocaine in the engine
               compartment. Officers next got a warrant to search a second
               car that the couple had left at the apartment complex, and
               found in its engine compartment both crack and cocaine. At the
               station, German waived his Miranda rights and admitted the
               details of his crime, including the names of his supplier and
               distributors.

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 United States v. German, 486 F.3d 849, 850-51 (5th Cir. 2007).             Again this Court

 emphasizes that the consent to search issue is a dead issue.

        Evidence at trial also showed long and extensive surveillance of German and

 multiple trash pulls at his residence, where Petitioner also lived, that produced wrappers

 that tested positive for cocaine residue. Those trash pulls also produced marijuana stems.

 All of these trash pulls evidencing cocaine and marijuana occurred well before the August

 14, 2004 traffic stop.

        Under the totality of the circumstances, the narcotics officers had probable cause

 to believe that German's white Caprice automobile would contain evidence of the recent

 cocaine transactions. In other words, there was a fair probability that German's vehicle

 would contain drugs or other contraband related to German’s drug deals. However, rather

 than compromising their ongoing investigation, they asked a street level police officer to

 conduct a pretextual traffic stop in an effort to obtain German's consent to the search of his

 car. Under the collective knowledge doctrine, that police officer had probable cause to

 search German's car during the traffic stop for evidence of cocaine transactions.

        This Court and the Fifth Circuit have both found that consent was given to search

 the white Caprice automobile driven by German. However, solely for the purposes of this

 petition, this Court will assume that consent to search the vehicle was not given and that

 Petitioner’s counsel’s conduct fell below an objectively reasonable standard for Strickland

 purposes by failing to file a motion to suppress. Nonetheless, Smith cannot satisfy the

 second prong of prejudice. Relying on the automobile exception and the collective

 knowledge doctrine, the search of the white Caprice even without consent was legal.



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               b.     Failing to Request a Sentence Below the U.S. Sentencing
                      Guidelines Range Based Upon the Unjust Disparity Between
                      Crack and Powder cocaine

        “Ms. Smith has submitted that, her former counsel was prejudicially ineffective for

 failing to request a sentence below the U.S. Sentencing Guidelines based upon the

 crack/powder cocaine disparity.” [Record Document 249 at 5]. In November of 2007,

 Amendment 706 to the Guidelines became effective, reducing the base offense levels

 applicable to certain crack cocaine offenses by two levels. On December 10, 2007, the

 Supreme Court decided Kimbrough v. United States, 552 U.S. 85, 128 S.Ct. 558, 169

 L.Ed.2d 481 (2007), holding that, in light of United States v. Booker, 543 U.S. 220, 125

 S.Ct. 738, 160 L.Ed.2d 621 (2005), “the cocaine Guidelines, like all other Guidelines, are

 advisory only,” and that a district court may deviate from the advisory Guidelines range for

 crack cocaine offenses based on a conclusion that the disparity between ranges for crack

 and powder cocaine results in a sentence greater than necessary to achieve the sentencing

 goals of § 3553(a). Id. at 564. On December 11, 2007, one day after Kimbrough was

 decided, the Sentencing Commission voted to make Amendment 706 retroactive, effective

 March 3, 2008.

        Smith was sentenced on December 15, 2005. See Record Document 177. Smith

 argues that “at the time of sentencing in December 2005, the advisory Guidelines were in

 place and the crack/powder disparity issue was widely known among those practicing in

 federal courts.” [Record Document 249 at 6]. The reasonableness of an attorney's actions

 under Strickland is determined by examining the law and events at the time of the counsel's

 actions. See Ogan v. Cockrell, 297 F.3d 349, 360 (5th Cir. 2002) (“The determination

 whether the performance of counsel was deficient is based upon the law as it existed at the

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 time of trial.”); see also Lucas v. Johnson, 132 F.3d 1069, 1078-1079 (5th Cir. 1998)

 (“Counsel is not required to anticipate subsequent developments in the law.”). At the time

 of Smith's sentencing, Kimbrough had not been decided. Therefore, counsel cannot be

 ineffective for not arguing a sentence below the Guidelines based upon the crack/powder

 disparity.2

        2.     Sentenced in Violation of Her Rights to Due Process and Trial by Jury

        Petitioner argues the rules of Apprendi v. New Jersey, 530 U.S. 466 (2000), and its

 progeny apply to the Guidelines in such a way that a district court may not impose an

 enhancement without a finding by the jury beyond a reasonable doubt or an admission by

 the defendant. However, the Petitioner concedes that the Fifth Circuit has ruled against

 this very line of argument holding a “sentencing judge is entitled to find by a preponderance

 of the evidence all the facts relevant to the determination of a Guideline sentencing range

 and all facts relevant to the determination of a non-Guidelines sentence.” United States


        2
         The Court notes that while Mr. Gold did not argue Kimbrough, he did argue Booker.
 Specifically he argued to the Court:

               Just briefly, Your Honor, and I can't make a legal argument to
               you. The presentence report is accurate. I just -- although I
               seem to be the only one, I guess, who feels this way, I think
               Booker, after Booker, you are not bound by those sentencing
               guidelines and I think the sentencing guidelines as they apply
               to Ms. Smith's role in this offense are just wacky. I mean, I'm
               limited at what I can argue because she maintains her
               innocence and will not allow me to talk about her role in the
               offense, but I'm going to do it sort of in a hypothetical situation.

 [Trial Tr., Sentencing, p. 9]. Mr. Gold then proceeded, in a careful way to preserve his
 client’s rights, to argue for a sentence below the guidelines. Mr. Gold was in no way
 ineffective on that point. Furthermore, this precise argument brings forward something the
 Court noticed in its review of German’s and Smith’s 2255 motions. It appears as if Smith
 copied most of German’s original 2255 and the reply prepared by his lawyer.

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 v. Mares, 402 F.3d 511, 519 (5th Cir. 2005). See also United States v. Johnson, 445 F.3d

 793, 798 (5th Cir. 2006). The Court did its work in compliance with the applicable statutory

 framework and jurisprudence.

        Nevertheless, Petitioner urges this Court to consider her argument to preserve her

 appeal rights. Without a change in case law from the Fifth Circuit or the United States

 Supreme Court, this Court is left with no other choice than to enforce the law as it is.

 Accordingly, Petitioner’s argument must fail.

                                       CONCLUSION

        The Court finds Smith has failed to establish that she received ineffective assistance

 of counsel or that she was prejudiced by such performance. Also, Smith has failed to

 demonstrate that she was sentenced in violation of her Due Process rights and her right

 to a trial by jury. For the reasons and analysis above, Smith’s Motion Under 28 U.S.C. §

 2255 to Vacate, Set Aside, or Correct Sentence (Record Document 231) shall be DENIED.

        Pursuant to Rule 11(a) of the Rules Governing 2255 proceedings for the United

 States District Courts, this Court must issue or deny a certificate of appealability when it

 enters a final order adverse to the applicant. “Before entering the final order, the court may

 direct the parties to submit arguments on whether a certificate should issue.” Rule 11(a)

 Rule Governing Section 2255 Proceedings for the United States District Courts (emphasis

 added). Unless a Circuit Justice or District Judge issues a certificate of appealability, an

 appeal may not be taken to the court of appeals.




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        In this instance, a certificate of appealability is DENIED because the applicant has

 failed to demonstrate a substantial showing of the denial of a constitutional right.

        An order consistent with this Memorandum Ruling shall issue herewith.

        THUS DONE AND SIGNED in Shreveport, Louisiana, this 19th day of April, 2011.




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